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                                                                                             6/4/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
COMMODITIES & MINERALS ENTERPRISE                                     :
LTD.,                                                                 :
                                                                      :
                                            Plaintiff,                :    1:16-CV-00861 (ALC)
                                                                      :
                 -against-                                            :    ORDER
                                                                      :
CVG FERROMINERA ORINOCO, C.A.,                                        :
                                                                      :
                                            Defendant.                :
                                                                      :
                                                                      :
                                                                      :
                                                                      :
--------------------------------------------------------------------- x
ANDREW L. CARTER, JR., District Judge:

         The Parties are hereby ORDERED to submit a joint status report to the Court on or before

June 26, 2020.

SO ORDERED.

Dated:            New York, New York
                  June 4, 2020

                                                     ____________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
